

People v Jesus (2021 NY Slip Op 04280)





People v Jesus


2021 NY Slip Op 04280


Decided on July 08, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: July 08, 2021

Before: Manzanet-Daniels, J.P., Webber, Singh, Kennedy, JJ. 


Ind No. 3164/15 Appeal No. 14177 Case No. 2017-2071 

[*1]The People of the State of New York, Respondent,
vElisette Jesus, Defendant-Appellant.


Janet E. Sabel, The Legal Aid Society, New York (Hannah B. Gladstein of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Alan Gadlin of counsel), for respondent.



Judgment, Supreme Court, New York County (Daniel P. FitzGerald, J. at plea; Maxwell Wiley, J. at sentencing), rendered December 7, 2016, convicting defendant of criminal sale of a controlled substance in the fifth degree, and sentencing her to five years' probation, unanimously modified, as a matter of discretion in the interest of justice, to the extent of reducing the sentence to three years' probation, and otherwise affirmed.
We find the sentence excessive to the extent indicated. THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: July 8, 2021








